Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 1 of 35 PageID #: 18706




   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

    SECURITIES AND EXCHANGE
    COMMISSION,

                        Plaintiff,

                 v.                          No. 21-cv-05350-PKC-RER
     RICHARD XIA, a/k/a YI XIA, et al.,
                                             JURY TRIAL DEMANDED
                        Defendants,

                 and

     JULIA YUE, a/k/a JIQUING YUE, et al.,

                        Relief Defendants.



                 DEFENDANTS’ AND RELIEF DEFENDANT YUE’S
              MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S
                MOTION TO APPOINT A LIQUIDATING RECEIVER
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 2 of 35 PageID #: 18707




                                                     TABLE OF CONTENTS

                                                                                                                                     Page(s)

   TABLE OF CITATIONS ............................................................................................................... ii
   INTRODUCTION .......................................................................................................................... 1
   LEGAL ARGUMENT .................................................................................................................... 3
   I.        THE SEC DOES NOT MEET THE LEGAL STANDARDS FOR RECEIVERSHIP ...... 3
        A.   The SEC’s Proposed Liquidating Receivership Does Not Meet the Second Circuit’s
             Rigorous Standards ............................................................................................................. 3
        B.   A Liquidating Receivership is Strongly Disfavored ........................................................... 4
        C.   The SEC is Not Seeking a Liquidating Receivership to Protect Investors ......................... 7
        D.   The SEC’s Financial Interest is Exceedingly Small and is Fully Protected
             by the Existing Asset Freeze ............................................................................................... 9
        E.   A Liquidating Receivership is Clearly Unnecessary to Protect the SEC’s Limited
             Property Interests .............................................................................................................. 12
        F.   The SEC Refuses to Give Mr. Xia Proper Credit for His Accomplishments ................... 14
        G.   Defendants Have Not Jeopardized the Investors by Violating the Asset Freeze ............. 15
        H.   A Liquidating Receivership is Not Clearly Necessary for the SEC
             To Obtain Information ...................................................................................................... 20
        I.   The SEC’s Undefined “Claims and Distribution Process” Will be
             Cumbersome, Time-Consuming, Costly, and Ineffective ................................................ 21
        J.   The Receivership and Liquidation Will Deprive Respondents
             Of their Constitutional Rights ........................................................................................... 22
        K.   The Monitor is Unfit to be Appointed as Receiver ........................................................... 24
        L.   Any Receiver Should Not be Immunized and Should be Required
             To Post a Bond .................................................................................................................. 30
   CONCLUSION ............................................................................................................................. 30




                                                                         i
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 3 of 35 PageID #: 18708




                                                     TABLE OF CITATIONS

   CASES                                                                                                                          Page(s)

   Bmo Harris Bank, N.A. v. Principis Capital LLC,
    20 Civ. 6355 (LGS),
    2020 U.S. Dist. LEXIS 251948 (S.D.N.Y. Oct. 8, 2020) .............................................................3

   Cedar Point Nursery v. Hassid,
    141 S. Ct. 2063 (2021) ................................................................................................................24

   Eberhard v. Marcu,
    530 F.3d 122 (2d Cir. 2008)..........................................................................................................5

   Esbitt v. Dutch-American Mercantile Corp.,
    335 F.2d 141 (2d Cir. 1964)..........................................................................................................5

   Heng Ren Silk Rd. Invs., LLC v. Sino Agro Food, Inc.,
    No. 19-CV-2680 (JMF),
    2022 U.S. Dist. LEXIS 69965 (S.D.N.Y. Apr. 15, 2022) .............................................................3

   Jarkesy v. SEC,
     34 F.4th 446 (5th Cir. 2022) .........................................................................................................8

   Liu v. SEC,
     140 S. Ct. 1936 (2020) ......................................................................................................9, 12, 23

   Rosen v. Siegel,
    106 F.3d 28 (2d Cir. 2007)............................................................................................................3

   SEC v. Am. Bd. of Trade, Inc.,
    830 F.2d 431 (2d Cir. 1987)..........................................................................................................4

   SEC v. Amerindo Inv. Advisors, Inc.,
    No. 05-cv-5231 (RJS),
    2017 U.S. Dist. LEXIS 110407 (S.D.N.Y. July 14, 2017) ...........................................................4

   SEC v. Malek,
    397 F. App’x 711 (2d Cir. 2010) ..................................................................................................4

   Soundview Assocs. v. Town of Riverhead,
     725 F. Supp. 2d 320 (E.D.N.Y. 2010) ........................................................................................22

   Tahoe-Sierra Preservation Council, Inc. v. Tahoe Regional Planning Agency,
    535 U.S. 302 (2002) ....................................................................................................................24




                                                                       ii
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 4 of 35 PageID #: 18709




   Thaler v. Estate of Arbore (In re Poseidon Pool & Spa Rec., Inc.),
    443 B.R. 271 (E.D.N.Y. 2010) .....................................................................................................5

   Yang v. Kosinski,
    960 F.3d 119 (2d Cir. 2020)........................................................................................................23

   STATUTES & RULES

   The Sarbanes-Oxley Act § 308 ......................................................................................................24

   U.S. Const. amend. V.....................................................................................................................22




                                                                       iii
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 5 of 35 PageID #: 18710




                                            INTRODUCTION

           A receivership is an extraordinary remedy to be imposed only when clearly necessary to

   protect the plaintiff’s interests in the property in question. The SEC’s only financial interest in this

   civil enforcement action are its claims for disgorgement and civil money penalties, which have

   limited value. At most, it has an indirect interest in ensuring that investors in both EB-5 Immigrant

   Investor Programs are repaid, which Defendants, Richard Xia and Fleet New York Metropolitan

   Regional Center, LLC, and Relief Defendant Julia Yue (“Respondents”) have repeatedly offered

   to do. Yet the SEC insists a receivership and liquidation of all the Defendants’ and Relief

   Defendants’ business and personal assets – worth several hundred million dollars – is necessary to

   “protect the interests of the investors and other [unspecified] stakeholders.” ECF No. 235-1 at 3.

   It is not clearly necessary to do so.

           The SEC’s disgorgement claim is virtually worthless and its claim for civil money penalties

   is capped at just a small fraction of the total value of the assets over which it seeks a liquidating

   receivership. Because Defendants have spent more in land acquisition and hard construction costs

   on both projects than the total invested by the EB-5 investors – a fact the SEC has never actually

   refuted – they have no “net profits” from either Project. In addition, this Court has determined that

   the maximum civil money penalties the SEC may seek is $18,646,380. ECF No. 216 at 65.

   Because the SEC’s disgorgement claim is of little or no value and its claim for civil money

   penalties is capped, a liquidating receivership is not clearly necessary here given that the amount

   of assets available dwarfs the Defendants’ potential liability.

           Under Second Circuit authority, a receivership should not be used, as the SEC proposes

   here, “to effect the liquidation of a defendant firm” in civil proceedings such as this. Nor should

   a receivership be used to deprive Respondents of their ability to defend themselves or their

   constitutional right to a jury trial on these important claims.


                                                      1
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 6 of 35 PageID #: 18711




           The SEC’s receivership motion offers no reason why the Second Circuit’s strong

   reservations against receivership liquidations do not apply, and runs rough-shod over

   Respondents’ due process rights. The SEC has not shown what reason or authority it has, given

   the small amount it may recover as disgorgement and civil money penalties, to use the receivership

   to force a complete liquidation of hundreds of millions dollars of business and personal assets to

   protect either the EB-5 visa investors or the many unnamed “other stakeholders” whose interests

   the SEC invokes. This Court and the SEC have many other tools at their disposal short of a

   comprehensive liquidating receivership to protect the SEC and the EB-5 visa investors – including

   allowing Defendants to refinance the properties or to seek protection under the Bankruptcy Code1

   – even assuming the SEC is entirely successful in proving its case at trial.

           The SEC is not acting to protect the EB-5 visa investors. It already has rejected a written

   settlement offer in which Defendants proposed far more than the SEC could possibly recover if

   it took this case to trial: (i) to repay all the EB-5 visa investors in full; plus (ii) to pay a negotiated

   civil money penalty; plus (iii) a permanent injunction barring Mr. Xia from future violations of the

   federal securities laws; plus (iv) a bar order prohibiting Mr. Xia from ever participating in any

   future EB-5 projects; and (v) to sell or refinance any or all of Defendants’ business and personal

   assets now, including their home in King’s Point, Great Neck, New York, as may be necessary or

   required by the Commission to resolve the civil enforcement action. When the SEC rejected

   Defendants’ settlement offer – in reality, an offer of surrender – it did not act in the EB-5 visa

   investors’ best interests. They would be far better off by allowing Defendants to repay them in full

   now than they will be under the SEC’s proposed liquidating receivership.



   1
     See Defendants’ and Mrs. Yue’s Cross-Motion for Relief from Preliminary Injunction to Repay
   Investors or File for Bankruptcy Protection (“Cross-Motion”), filed concurrently herewith.


                                                       2
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 7 of 35 PageID #: 18712




          Moreover, the asset freeze already has caused substantial injury to the two construction

   projects. A liquidating receivership will cause even more devastating harm to the value of the

   properties– and to the EB-5 visa investors’ interests. It will further delay completion of the Eastern

   Mirage Project, thus depriving the Project of revenue, and will take many years to administer and

   cost tens of millions of dollars in fees and expenses, while adding greatly to the uncertainty of any

   proposed sale or refinance of either property.

                                         LEGAL ARGUMENT

   I.     THE SEC DOES NOT MEET THE LEGAL STANDARDS FOR RECEIVERSHIP

          A.      The SEC’s Proposed Liquidating Receivership Does
                  Not Meet the Second Circuit’s Rigorous Standards

          A receivership is an extraordinary remedy to be imposed “‘only when clearly necessary to

   protect plaintiff’s interests in the property.’” Bmo Harris Bank, N.A. v. Principis Capital LLC, 20

   Civ. 6355 (LGS), 2020 U.S. Dist. LEXIS 251948, at *5-9 (S.D.N.Y. Oct. 8, 2020) (emphasis

   added) (quoting Rosen v. Siegel, 106 F.3d 28, 34 (2d Cir. 1997)). Because appointment of a

   receiver “results in the taking and withholding of possession of property from a party without an

   adjudication on the merits, the courts have required the party seeking the remedy to make a clear

   showing that the appointment is necessary to prevent irreparable injury to the property interests

   at stake.” Heng Ren Silk Rd. Invs., LLC v. Sino Agro Food, Inc., No. 19-CV-2680 (JMF), 2022

   U.S. Dist. LEXIS 69965, at *8 (S.D.N.Y. Apr. 15, 2022) (emphasis added) (quoting Altissima Ltd.

   v. One Niagara, LLC, No. 08-CV-756 (JTC), 2009 U.S. Dist. LEXIS 39472, 2009 WL 1322319,

   at *1 (W.D.N.Y. May 8, 2009)). Bmo Harris Bank, 2020 U.S. Dist. LEXIS 251948, at *5-9.

   Receivership “‘should be employed cautiously and granted only when clearly necessary to protect

   plaintiff’s interests in the property.’” Id. (emphasis added) (quoting Rosen, 106 F.3d at 34). That

   demanding standard is not met here.



                                                     3
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 8 of 35 PageID #: 18713




          As the Court has recognized, its equity power to freeze assets or appoint a receiver in an

   SEC civil enforcement action such as this “exist[s] for the benefit of investors.” See Dkt. Orders

   dated Aug. 30, 2022 (quoting 15 U.S.C. § 78u(d)(5)), and Jan. 30, 2023 (emphasis added). The

   Court recognized that its equity powers under the federal securities laws are limited and do not

   exist to protect creditors who are not investors. See Dkt. Order Jan. 30, 2023. Liquidating the

   Defendants’ and Relief Defendants’ assets to distribute proceeds to all their creditors, including

   dozens of unidentified and unrelated claimants, after a lengthy and costly receivership is not

   clearly necessary to protect the interests of the EB-5 visa investors. A receivership should not be

   used to protect anyone other than those investors. Those other claims should not be leveraged to

   gain the appointment of a receiver.

          Moreover, the EB-5 visa investors are far better served by permitting Defendants to repay

   them now, as Defendants repeatedly have offered to do. The Court should not appoint a receiver

   unless it is convinced that the extraordinary and dramatic remedy of a liquidating receivership is,

   in fact, both clearly necessary and the best way to protect the interests of those investors. It is no

   better than Defendants’ offer to pay the investors in full now.

          B.      A Liquidating Receivership is Strongly Disfavored

          Even when the party seeking a receivership shows it is clearly necessary, the “primary

   purpose” for appointing a receiver must be “to ‘conserve the existing estate’ so as ‘to preserve the

   status quo,’ ‘prevent the dissipation of [the] defendant’s assets pending further action by the court,’

   and ‘obtain an accurate picture of what transpired’ in a fraud.” SEC v. Amerindo Inv. Advisors,

   Inc., No. 05-cv-5231 (RJS), 2017 U.S. Dist. LEXIS 110407, at *21-22 (S.D.N.Y. July 14, 2017).

   Importantly, as the Second Circuit has long held, “receiverships should not be used to effect the

   liquidation of defendants in actions brought under the securities laws.” SEC v. Am. Bd. of Trade,

   Inc., 830 F.2d 431 (2d Cir. 1987) (emphasis added); see also SEC v. Malek, 397 F. App’x. 711,


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 9 of 35 PageID #: 18714




   *714 (2d Cir. 2010) (“this Court has consistently expressed a preference against the liquidation of

   defendant corporations through the mechanism of federal securities receiverships, as opposed to

   through the bankruptcy courts”); Eberhard v. Marcu, 530 F.3d 122, 132 (2d Cir. 2008) (expressing

   “strong reservations” against using a receivership to liquidate a defendant’s estate) (emphasis

   added); Esbitt v. Dutch-American Mercantile Corp., 335 F.2d 141, 143 (2d Cir. 1964) (“We see

   no reason why violation of the Securities Act should result in the liquidation of an insolvent

   corporation via an equity receivership instead of the normal bankruptcy procedures, which are

   much better designed to protect the rights of interested parties.”).2

          The SEC does not seek a receiver to preserve the status quo, conserve the existing estate,

   or prevent the dissipation of assets while its disgorgement and civil money penalty claims are

   litigated. Those purposes are readily served by the existing Preliminary Injunction, which freezes

   all of Defendants’ assets worth hundreds of millions of dollars more than can ever be recovered

   by the SEC in this action. The SEC proposes to permanently change the status quo by liquidating

   the entire estate, and by depriving Defendants and Mrs. Yue of the right to defend themselves

   while their assets are being liquidated. If the SEC genuinely believes that Defendants or the Relief

   Defendants are not complying with the Preliminary Injunction (or that they failed to comply with

   the prior Asset Freezing Order), the proper remedy is to seek to compel them to comply with the

   orders, not to place all their business and personal assets in the hands of a receiver to be liquidated

   and the proceeds distributed to all their creditors.

          The SEC proposes to have the receiver submit an undefined “Liquidation Plan” within 90


   2
     That logic applies even more strongly here, where Defendants’ assets greatly exceed their total
   amount of their liabilities, but they are unable to pay their debts only because their assets are
   frozen. Insolvency under Bankruptcy Code does not require that liabilities exceed assets. Thaler
   v. Estate of Arbore (In re Poseidon Pool & Spa Rec., Inc.), 443 B.R. 271, 280 (E.D.N.Y. 2010)
   (insolvency “means inability to pay debts in the ordinary course of business”).


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 10 of 35 PageID #: 18715




   days after appointment. Among other things, the “Liquidation Plan” must set a “bar date for the

   filing of claims in the Receivership Estate” by all claimants other than the EB-5 visa investors;

   and propose “a claim review and reconciliation process” and a “dispute resolution process for

   resolving any disputes concerning claims or proposed distributions.” ECF No. 235-20 at 10

   (emphasis added). The SEC also proposes to have the receiver “conduct an orderly liquidation of

   the Receivership Assets” to satisfy not only the claims of the EB-5 visa investors but also of all

   those other claimants who submit claims against the Receivership Estate by the bar date. Id. at 6.

          The Court’s equity authority to freeze assets “for the benefit of investors” does not extend

   to other creditors. Dkt. Order Jan. 30, 2023 (regarding CTBC). Just as the Court lacks authority to

   freeze assets to protect other creditors, it has no authority to impose a receivership – which is a far

   more drastic provisional remedy than an asset freeze– to protect those other creditors. However,

   in seeking a liquidating receivership, the SEC invokes the interests of those other claimants (such

   as CTBC) and proposes to have the receiver submit a plan to aggregate their claims with the

   investors’ claims and resolve them all together. The SEC justifies the liquidating receivership, in

   part, by referring to all those other claims. Doing so is plainly improper and does not make a

   liquidating receivership clearly necessary to protect the investors’ interests. To the contrary, a

   receivership would be unnecessary if the SEC and the Court would allow Defendants to repay the

   EB-5 investors now instead of after a multi-year comprehensive liquidating receivership.

          As explained in the Cross-Motion, the SEC seeks the functional equivalent of a liquidation

   under Chapter 7 of the Bankruptcy Code, but without the constitutional authority of the Bankruptcy

   Code and without the protections given to both debtors and creditors under the Bankruptcy Code.

   The SEC’s ill-conceived and poorly defined ad hoc bankruptcy lacks the established and well-

   known structures of bankruptcy and raises far more questions than it provides answers, such as:




                                                     6
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 11 of 35 PageID #: 18716




   (1) which creditors may submit claims against the estate to be liquidated; (ii) under what authority

   outside of bankruptcy may the Court assume jurisdiction over those other creditors and claims;

   (iii) by what means are the claims of those creditors who submit their claims to the receiver to be

   evaluated, and how will this Court review the receiver’s decisions; (iv) how are creditors to know

   the procedures and standards for resolving their claims before they must decide whether to submit

   their claims to the receiver; (v) what will be the timing for submitting claims, for resolving claims,

   and for creditors to pursue their appeal rights; (vi) and what will happen to the claims of creditors

   who do not submit them to the receiver, and what continuing liability will Defendants and the

   Relief Defendants face to those creditors after all their business and personal assets are liquidated.

   The only certainty is that the receivership will take several years to complete and will cost tens of

   millions of dollars to administer.

          The Court should not permit the SEC to conduct an ad hoc bankruptcy liquidation without

   the constitutional authority of the Bankruptcy Code or the protections given to debtors and

   creditors under the Bankruptcy Code.

          C.      The SEC is Not Seeking a Liquidating Receivership to Protect Investors

          The SEC argues that a liquidating receivership will “maximize the likelihood of

   compensating the defrauded investors.” ECF No. 235-1 at 3. Surely, it will not do so. Had the SEC

   genuinely wanted to maximize the likelihood of compensating the allegedly defrauded investors,

   it would have accepted any one of Defendants’ settlement offers to repay the investors in full now.

   Alternatively, it would agree to permit Defendants to sell or refinance whatever assets are required

   to repay the investors in full now. Either alternative maximizes the likelihood of compensating

   the investors far sooner and at much less cost than the SEC’s proposed liquidating receivership.3


   3
    Recently, the Court noted the SEC’s seemingly changing position on whether Defendants’ rental
   properties that were acquired before January 1, 2010, and pre-date any alleged fraud, should


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 12 of 35 PageID #: 18717




          Under the Second Circuit’s demanding standards, a receivership should not be used to

   deprive Defendants of their ability to defend themselves or of their constitutional right to a jury

   trial on the highly fact-specific questions raised by the SEC’s claims.4 But that is precisely what

   the liquidating receivership would do. The SEC proposes to empower the receiver to assume

   control of the litigation for Defendant Fleet. The receiver – who has been hand-picked by the SEC

   for this highly lucrative appointment – will likely abandon any defense to the SEC’s claims and

   allow judgment to be entered against Fleet on liability (and perhaps on both the amount of

   disgorgement and the civil money penalties as well). The judgment – in effect a consent judgment

   – against Fleet will deprive Mr. Xia of the ability to defend himself, or at least substantially impede

   his ability to do so. In any event, the SEC hopes never to have to prove its case on the merits, with

   very little to recover in disgorgement and civil money penalties, and prefers to use the appointment

   of a receiver to liquidate Defendants’ and Mrs. Yue’s assets while avoiding the consequences of

   Liu and without ever proving its case.

          By stripping Defendants of control over their defense, depriving them of their

   constitutional right to a jury trial, and sweeping the SEC’s claims in with dozens of other claims

   in the undefined “claims and distribution” process envisioned by its liquidating receivership



   remain frozen under the Preliminary Injunction Order for the benefit of the EB-5 visa investors.
   The Court referred to the SEC’s change in position as “inexplicable.” Dkt. Order (1/30/23). The
   SEC’s explanation that it abandoned those properties because they have lost value during the asset
   freeze (ECF No. 259) rings hollow. A more credible explanation for the SEC’s about-face is that
   it seeks a liquidating receivership to punish the Defendants, not to protect the investors. Another
   explanation is that the SEC seeks the receivership to avoid having to take this case to trial, risk
   losing on the merits or on appeal, and then, even if it succeeds on the merits, risk recovering little
   or nothing in disgorgement under Liu and only a fraction of the pre-judgment interest and civil
   money penalties it seeks.
   4
    The SEC demanded a trial by jury. See ECF Nos. 1 (at 42), 1-1, and 98 (at 52). Recently, in
   Jarkesy v. SEC, 34 F.4th 446, 451 (5th Cir. 2022), the Fifth Circuit upheld a defendant’s
   constitutional right to a jury trial in an SEC civil enforcement action.


                                                     8
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 13 of 35 PageID #: 18718




   motion, the SEC avoids not only the risk of a defeat but also the risk of winning a pyrrhic victory.

   These are not proper purposes for a receivership recognized by the Second Circuit.

            D.      The SEC’s Financial Interest is Exceedingly Small and is Fully
                    Protected by the Existing Asset Freeze

            Under the Supreme Court’s controlling decision in Liu v. SEC, 140 S. Ct. 1936, 1940

   (2020), the SEC may only recover Defendants’ “net profits” as disgorgement in a civil enforcement

   action such as this. “[C]ourts must deduct legitimate expenses before ordering disgorgement.” 140

   S. Ct. 1950. The SEC has an exceedingly small interest in Defendants’ and the Relief Defendants’

   property because its disgorgement claim is likely worthless; it is worth no more than $16.5 million

   at most. And its claim for civil money penalties is capped at $18.7 million. ECF No. 216 at 65.

   But even if the SEC had a greater interest in Respondents’ property in order to protect the interests

   of the EB-5 visa investors – which is limited to the total sum of $228.5 million they invested in

   both projects – the value of all the assets already frozen by the Court’s Preliminary Injunction

   vastly exceeds that amount by hundreds of millions of dollars. Thus, the extraordinary remedy of

   a receivership is clearly unnecessary to prevent dissipation of any assets.

            In its Preliminary Injunction Decision, the Court found it was not bound by Liu – or by the

   fact that the SEC’s disgorgement claim is virtually worthless – in setting the amount of the asset

   freeze. ECF No. 216 at 63-64.5 The Court can no longer postpone applying Liu. However, to

   determine the value of the SEC’s claim in the “claims and distribution process” to be proposed by

   the receiver, every claim – including the SEC’s disgorgement and civil money penalty claims –

   must be quantified for the pro rata calculations required by the anticipated liquidation plan.

            Even if the SEC prevails on the merits, the SEC will have no recoverable disgorgement



   5
       That decision is currently on appeal to the Second Circuit. ECF No. 219.


                                                     9
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 14 of 35 PageID #: 18719




   because Defendants already have incurred reasonable business expenses far above the total

   amount contributed by all the EB-5 visa investors in both projects. This fundamental flaw in the

   SEC’s case will have to be resolved in any “claims and distribution process.” Defendants and the

   other (yet unnamed) creditors will demand that the SEC be given no special treatment.

          Defendants itemized those legitimate business expenses in detailed declarations previously

   filed with the Court. See ECF Nos. 180-1 through 15, 181, and 184. They have not been seriously

   disputed. Taking into consideration only the documented land acquisition and hard construction

   costs incurred before this action was commenced, Defendants have spent more than they took in.

   And they have put in more than they may have taken out.

          The EB-5 visa investors contributed $228.5 million to both Projects. Defendants paid $16.7

   million in 2007 to acquire the land on Union Street for the Eastern Mirage Project and $17 million

   in 2013 to acquire the land on Northern Boulevard for the Eastern Emerald Project. The SEC has

   never challenged the land acquisition costs. Before this action was commenced and work on both

   Projects was halted, Defendants also spent $195 million in hard construction costs on both

   Projects. They spent more than $91 million in hard costs to build the nearly-complete 20-story

   building on Union Street. And they spent nearly $104 million in hard costs for the massive site

   decontamination and excavation work on Northern Boulevard which is deteriorating daily because

   the asset freeze prevents Defendants from maintaining it or starting construction.6



   6
     When it opposed Defendants’ motion to vacate the Asset Freezing Order, the SEC extensively
   criticized Mr. Amideo’s work and his conclusions. See ECF No. 182 at 7-10. However, despite
   serving more than 35 subpoenas on non-parties, the SEC has not bothered to take Mr. Amideo’s
   deposition to try to substantiate any of its unfounded criticisms. Supplemental Declaration of
   Michael Amideo (“Amideo Supp. Decl.”), ¶ 37, submitted herewith. And, as importantly, the SEC
   has not tried to quantify the construction costs itself. The SEC certainly has provided no evidence
   of its own estimate of the construction costs, as though the work was done at no cost.
      Those hard construction costs for both Projects were verified against the supporting detailed
   payment records, including vendor invoices, canceled checks, and wire transfer confirmations


                                                   10
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 15 of 35 PageID #: 18720




          The total of $228.7 million in costs is more than the total amount contributed by all the

   EB-5 visa investors, and the recoverable disgorgement is zero. Even if the acquisition cost for the

   land on Union Street (which is not owned by the Eastern Mirage Project), is excluded, the total of

   $212 million in costs is only $16.5 million less than the full amount contributed by the investors.

   Likewise, even if the disgorgement could include the processing fees of $28.5 million paid by all

   the investors, the total amount of disgorgement is just a fraction of the total amount they invested.

          The SEC does not seriously dispute these hard land acquisition costs and construction

   costs, and it certainly offers no evidence of its own to refute them. 7 The SEC has not offered any

   contrary analysis of the land acquisition costs or the hard construction costs incurred on both

   projects prior to the asset freeze on September 27, 2021. It has not explained – or even tried to

   explain – how there was $45 million more cash in the bank than the math says should have been


   showing not only that the payments were made but also that they were made to the vendors who
   did the construction work. They were meticulously verified in accordance with accepted AICPA
   standards, as explained in detail in Mr. Amideo’s supplemental declaration. See id., ¶¶ 15-36,
   submitted herewith.
   7
     The Court says the SEC has implied “in effect . . . that some of the business expenses Defendants
   seek to exempt from the asset freeze are not legitimate, but merely incidental means to fuel the
   ongoing fraudulent scheme.” ECF No. 216 at 63. It is indisputable that land acquisition costs, site
   remediation and excavation costs, and other hard construction costs are “legitimate business
   expenses” for a real estate development project: they are the core expenses of the business. There
   is no explanation for all the money Defendants spent to buy the land for both Projects, build the
   20-story building at Union Street, and remediate the Brownfield site and excavate the foundation
   at Northern Boulevard other than that they were legitimately incurred for both Projects. Indeed,
   those legitimate business expenses have made the projects currently worth, as is, $585 million (not
   including the $84 million Mr. Xia has earned in Brownfield tax credits).
       For example, Defendants spent $99.1 million for the massive site decontamination effort on the
   Brownfield site at Northern Boulevard, which costs have been audited by the State of New York
   and for which Mr. Xia has earned $84 million in Brownfield tax credits. ECF No. 184 at 5. It
   would strain credibility past the breaking point if the SEC were to dispute that those audited costs
   were “legitimate business expenses.” The cost of the massive Brownfield site decontamination
   alone accounts for almost two-thirds of the funds received from the Eastern Emerald investors and
   nearly half of the total amount received from all the EB-5 visa investors. And, of course, the SEC
   has frozen the Brownfield tax credits – which Mr. Xia has contributed to both projects – earned by
   that expenditure.


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 16 of 35 PageID #: 18721




   there.8 The SEC has never denied that both Projects have no net profits to date. The SEC has not

   even tried to address the fundamental damages problem with its disgorgement case.

          E.      A Liquidating Receivership is Clearly Unnecessary to Protect the
                  SEC’s Limited Property Interests

          The SEC argues that the liquidating receivership is needed to prevent the dissipation of

   Defendants’ and the Relief Defendants’ assets. EFC No. 235-1 at 10-16. Given the SEC’s

   exceedingly modest financial interest in this case, the Preliminary Injunction more than adequately

   protects the properties. Even if the total amount paid by the EB-5 investors in both Projects were

   considered – which the SEC cannot recover as disgorgement under Liu – the enormous value of

   the assets currently subject to the Preliminary Injunction greatly exceeds that amount as well.

          Under the Preliminary Injunction, which freezes all of Defendants’ business and personal

   assets, the SEC is now secured by nearly $774 million in frozen assets – including approximately

   $75 million in cash still on hand, $585 million in real property on Union Street and Northern

   Boulevard, $84 million in earned tax credits, approximately $11 million in Defendants’ two pre-

   EB-5 income-producing properties, and more than $18 million in Mr. Xia’s and Mrs. Yue’s

   personal real estate. The SEC has not offered any evidence – and none exists – that any of those

   assets have been spent or dissipated, or even that Defendants attempted to spend or dissipate them,



   8
     After deducting only the land acquisition ($33.4 million) and hard construction ($195 million)
   costs from the amount invested (ignoring all the other expenses of running both Projects for the
   past decade), there should have been $33.5 million in the bank when the SEC filed suit and froze
   Defendants’ assets. However, there was $80.9 million on hand (see ECF No. 53 at 14), which is
   $47.4 million more than should have been in the bank. If this were the giant swindle the SEC
   says it is, then at least some investor money would be missing. If the SEC’s claims had any merit,
   there would be less money in the bank, not more of it. Contrary to what the SEC says, Defendants
   actually spent investor funds to pay for the enormous amount of work already performed on both
   Projects, exactly as they were supposed to. In fact, they spent more money than they took in: they
   contributed tens of millions of dollars of their own money to the Projects. That is why there was
   $45 million more in the bank when the SEC swooped in than the math says should be there.


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 17 of 35 PageID #: 18722




   since the Preliminary Injunction was entered.

          The real estate for both Projects recently was appraised by Colliers International Valuation

   & Advisory Services (“Colliers”). See ECF No. 180-1 through 15. Colliers is a highly respected

   international commercial real estate and investment advisor. Id. Colliers determined the “as-is”

   value, the “as completed” value, and the “stabilized” value for the projects. The “as-is” values –

   the lowest of the three values – are $314,600,000 for Eastern Mirage and $270,200,200 for Eastern

   Emerald.9 Id. It did so independently, not merely by accepting information provided to it by Mr.

   Xia. The appraisals were prepared for a sophisticated commercial lender prepared to invest

   hundreds of millions of dollars in both Projects. They were not prepared by or for Defendants; nor

   were they prepared in connection with any litigation. The SEC disputed these valuations; in fact,

   the SEC disputes putting any value on the real property.

          Whatever value the properties have, it is not helped by the appointment of a receiver. To

   the contrary, a receivership substantially impedes the value of the properties and deprives the

   Eastern Mirage Project of potential rental income. See Affidavit of Lei Zhu (“Zhu Aff.”), ¶¶ 19-

   24, submitted herewith. And whatever value they have, the proceeds from a sale of the either

   property will be available for payment to the EB-5 investors far sooner if Defendants are permitted

   to sell or refinance them now rather than by the appointment of a liquidating receiver (and the

   cumbersome and time-consuming process the liquidating receivership would entail). And the

   proceeds will not be diminished by the enormous fees a receiver would be paid to sell the



   9
     The Colliers appraisals reflect the enormous value added to both Projects by Defendants’ hard
   work: $298 million has been added to the Eastern Mirage property value and nearly $253 million
   has been added to the Eastern Emerald property value since they were acquired. Whether the
   enormous appreciation in value is the result of Mr. Xia’s prudent real estate investments or the
   result of his hard work over more than a decade, they both speak volumes to his ability to manage
   and control these projects. See Section F below.


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 18 of 35 PageID #: 18723




   properties.

          F.      The SEC Refuses to Give Mr. Xia Proper Credit for His Accomplishments

          The SEC argues that Mr. Xia is unfit to continue in any position of responsibility or control

   over the available assets. ECF No. 235-1 at 2. The SEC’s counter-factual argument refuses to

   acknowledge Mr. Xia’s impressive accomplishments before this action was commenced.

          As discussed above, Mr. Xia purchased the two properties for a total of $33.7 million. He

   has been the designer, developer, architect, engineer, and driving force behind both Projects. See

   ECF No. 185, ¶¶ 2-7 & 9-19 and Exhibits 1.1 through 11.4 thereto. Mr. Xia used his considerable

   talent and has worked tirelessly for more than a decade to complete them, putting hundreds of

   construction workers to work in the process. When the Projects are finished, Mr. Xia’s efforts will

   have created hundreds more jobs for the residents of Queens and the buildings will contribute to

   the revitalization of the neighborhoods and add greatly to nearby property values.

          Most impressively – and most importantly for this motion – Mr. Xia’s efforts have added

   hundreds of millions of dollars to the value of both properties. Currently, the Eastern Mirage

   Project, which the SEC dismissed as a mere “glass shell,” stands more than 80% complete and has

   an “as is” value of $314.6 million, nearly 19 times higher than the purchase price of $16.7 million.

   Similarly, the Eastern Emerald Project, which the SEC derisively called a “hole in the ground,”

   has undergone massive decontamination, remediation and excavation efforts and currently has an

   “as is” value of $270.2 million, nearly 16 times higher than the purchase price of $17 million.10


   10
      In particular, the SEC called the $104.5 million in remediation and site preparation work for the
   Northern Boulevard property “suspect” because the expenses were provided by Mr. Xia and were
   based on his “questionable” business records. The SEC has never offered any estimate of what it
   considers to be the “real” value of the work performed on Northern Boulevard; it simply refuses
   to believe Mr. Xia. The Court need not take Mr. Xia’s word for the cost of the massive remediation
   and site preparation work. Approximately $67 million of those costs already have been extensively
   audited by the New York State Tax Department as part of the Brownfield program. The audits
   reviewed the contracts, invoices, and proof of payment of all those expenses. See Declaration of


                                                   14
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 19 of 35 PageID #: 18724




          The combined appreciation of $550 million during Mr. Xia’s ownership and control of the

   two Projects did not happen magically. It happened in part because Mr. Xia made excellent real

   estate investments and in much greater measure because of the massive, skillful, and diligent

   efforts he has devoted to the two construction projects over many years. The Court is again urged

   to make a comprehensive tour of the sites to see for itself the substantial value added by Mr. Xia.

          Before the SEC commenced this action, the 20-story, state-of-the-art commercial building

   on Union Street was nearly complete, and every one of the 112 EB-5 visa investors in the Eastern

   Mirage Project earned permanent residence – exactly as provided for in the offering memoranda

   for those partnerships. The site on Northern Boulevard was fully decontaminated and excavated,

   ready for construction work to begin. Both projects were abruptly stopped by the Asset Freezing

   Order. Any harm to the properties has been caused by the SEC’s demand for an asset freeze, under

   which both projects have languished and suffered, and by the Monitor’s endless stonewalling and

   foot-dragging, see Section K below, not by Mr. Xia.

          Whether due to Mr. Xia’s excellent investment judgment or his architectural, engineering,

   design, and development expertise, the enormous $550 million in appreciation on both properties

   speaks volumes as to his fitness to own and control these assets – far more than enough to drown

   out the SEC’s feeble criticism of his “suitability” to own or oversee the properties.

          G.      Defendants Have Not Jeopardized the Investors by
                  Violating the Asset Freeze

          The SEC argues that a receivership and complete liquidation of all the Defendants’ and



   Joseph N. Endres, ¶ 8, ECF No. 184. The State completed audits for 2015 through 2018, approved
   99.994% of those costs (totaling $67,004,466),10 and issued $14.9 million in tax credits based on
   those costs. See id. at ¶¶ 18-22. The audited and approved costs tie directly to the itemized
   schedule of payments on the Eastern Emerald Project for the corresponding years. See ECF No.
   187, ¶¶ 22-41 and Exhibits A-D thereto,. When the State completes its audits for 2019 and 2020,
   there is no reason to expect it will not approve the balance of the expenses on Northern Boulevard.


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 20 of 35 PageID #: 18725




   Relief Defendants’ business and personal assets is necessary because Defendants have violated the

   prior Asset Freezing Order. Importantly, the SEC does not allege that Defendants or Mrs. Yue

   have violated the current Preliminary Injunction in any respect.

          First, the SEC notes that Defendants encumbered nine rental units in properties acquired

   prior to January 1, 2010, with two mortgages. The first mortgage, in the amount of $1,750,000,

   was given on eight of those units on June 3, 2022. ECF No. 235-3 (Stoelting Ex. 1). The second

   mortgage, in the amount of $550,000, was given on November 9, 2022, on another unit. ECF No.

   235-4 (Stoelting Ex. 2). At the time, only $229 million in assets were frozen by the Asset Freezing

   Order, and Mr. Xia knew the value of the two projects (worth nearly $585 million) plus the $79

   million in cash that was frozen, dwarfed the cap in the Asset Freezing Order. Supplemental

   Affidavit of Richard Xia in Opposition to Liquidating Receivership and in Support of Cross-

   Motion for Relief from Preliminary Injunction (“Xia Supp. Aff.”), ¶ 3-4, submitted herewith.

          In addition, Mr. Xia reasonably believed the Asset Freezing Order did not apply to the pre-

   EB-5 investment properties that he mortgaged. Xia Supp. Aff. at ¶ 5. The Asset Freezing Order

   only required Defendants and the Relief Defendants to account for money, properties, and other

   assets acquired after January 1, 2010. ECF No. 95-1 at §§ IV(1), (3), and (4). When the mortgages

   were given, Mr. Xia reasonably believed the pre-EB-5 investment properties were not at all

   encumbered by the Asset Freezing Order because he was not required to account for them.

          Most importantly, before encumbering the nine rental properties with mortgages, Mr. Xia’s

   then-counsel, Kameli Associates, engaged in lengthy discussions with the Monitor regarding the

   mortgages to be placed on those few pre-EB-5 assets and the plan to use the proceeds to invest in

   both Projects during the asset freeze and to retain Meyer Suozzi as counsel. Xia Supp. Aff., ¶ 7.

   The Monitor never objected to the mortgages and never objected to using those proceeds for the




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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 21 of 35 PageID #: 18726




   Projects or to pay Meyer Suozzi’s retainer. Id.

          Regardless of whether Mr. Xia’s belief was reasonable, the SEC has not addressed how he

   used the proceeds of the mortgage loans. Most of the loan proceeds, approximately $1.5 million

   in total, was spent on the two construction projects. Xia Supp. Aff., ¶ 6. Those expenses were

   reasonably incurred to protect both Projects and, indirectly, the investors’ interests in them. They

   were not spent on “mansions” or any other personal expenses.11

          Meyer Suozzi. As the SEC notes, the remaining $850,000 from the two mortgage loans

   was paid to Meyer Suozzi. Meyer Suozzi represents Defendants in this case and in “more than two

   dozen other pending actions” directly related to the Projects. ECF No. 235-1 at 13. The work

   diligently performed by Meyer Suozzi is unquestionably necessary to protect the Projects from

   multiple claimants and, indirectly, to protect the investors’ interests in them. The SEC does not

   dispute that the work has been necessary and beneficial – in fact, it does not mention the work at

   all – focusing only on the fact that Meyer Suozzi has been paid.

          The same is true of the other payments to Meyer Suozzi, totaling $40,000. Mr. Xia charged

   $20,000 to his American Express card and Mr. Xia’s father, Guangyu Xia, paid $20,000 to Meyer

   Suozzi as a loan to his son. The payments were made to retain Meyer Suozzi to protect the Projects

   by defending Defendants from those other claims as well as to defend them in this action. The


   11
      The SEC refers to an exchange during the Court-supervised mediation on June 28, 2022, as
   proof that Mr. Xia knew his pre-EB-5 assets were subject to the Asset Freezing Order. According
   to the SEC, Defendants’ counsel asked the SEC to consent to release the properties from the asset
   freeze. ECF No. 235-1 at 10. Defendants’ counsel have a different recollection of the exchange.
   Rather than asking the SEC to consent to release the properties from the asset freeze, Defendants’
   counsel asked the SEC to agree that they were not subject to the Asset Freezing Order. See Rifkin
   Decl., ¶ 124. Defendants’ counsel also recalls that the Court expressed its own uncertainty about
   whether the pre-EB-5 investment properties were subject to the Asset Freezing Order at all. Id. at
   ¶ 125. Whatever may have been said by counsel for the parties or by the Court during the mediation
   on June 28, 2022, Mr. Xia had sufficient reason to understand that the Asset Freezing Order did
   not apply to the pre-EB-5 investment properties.


                                                     17
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 22 of 35 PageID #: 18727




   legal work is necessary to protect the Projects from multiple claimants and to protect the investors’

   interests in them. In addition, Mr. Xia’s father is not subject to any asset freeze.

             Wolf Haldenstein. The SEC questions $200,000 paid to Wolf Haldenstein by non-parties

   who were never subject to any asset freeze. The first payment of $100,000 came from Jingting

   Han, who (as the SEC knows) is Mr. Xia’s mother. The SEC questions the payment because she

   lives in one of the pre-EB-5 rental apartments.12 The proceeds came from savings that were to be

   used to provide cancer treatments for Mr. Xia’s sister-in-law and had nothing to do with where

   Mrs. Han lives. The second payment of $100,000 came from Qiuxing Xia, who (as the SEC also

   knows) is Mr. Xia’s sister. The SEC does not say why it believes that payment violated the Asset

   Freezing Order. Those proceeds also came from her savings for cancer treatments.13

             WilmerHale. The SEC questions a $250,000 wire transfer from Sherry Chen to

   WilmerHale on October 19, 2021. The SEC says nothing of Ms. Chen, but notes that her husband,

   Wenfeng Kevin Zhao, was paid $2,452 by Fleet for engineering work he performed on the Eastern

   Mirage Project in 2015 and his company, Sky Brookside Investment LLC, was paid $125,000 from

   Fleet in 2015. It offers no explanation why those payments to Ms. Chen’s husband and his business

   six years earlier subjected her to the Asset Freezing Order. The payment came as a loan from Ms.

   Chen from the proceeds of the sale of an investment property in 2021.14

             Kameli Associates. The SEC questions two $100,000 payments by non-parties to Kameli

   Associates in January and February 2022, when only $229 million in assets were frozen. The first

   payment, allegedly made on January 1, 2022, was from Jin Jing, a personal friend of Mr. Xia. That



   12
        See Declaration of Jingting Han, ¶ 3, submitted herewith.
   13
        See Declaration of Qiuxing Xia, ¶ 4, submitted herewith.
   14
        See Declaration of Sherry Chen, ¶ 4, submitted herewith.


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 23 of 35 PageID #: 18728




   payment was made as a loan from Ms. Jin using her personal savings.15 The SEC says nothing

   about the payment other than it did not know the source of the funds used. The second payment,

   made on February 4, 2022, was a personal loan to Mr. Kameli from Relief Defendant Xinming

   Yu, who (as the SEC knows) is Xi Verfenstein’s mother. The loan was made from Mrs. Yu’s

   personal savings.16 At the time, Mrs. Yu was not a relief defendant, and her assets were not frozen.

             Sills Cummis. The SEC questions $440,000 paid to Sills Cummis from non-party Ellen

   Young on October 26, 2021, simply because Ms. Young performed consulting work for Fleet in

   2012 and 2013. Mrs. Young used her own savings to make the payment as a loan to Mr. Xia.17

   That Ms. Young performed consulting services for Fleet eight or nine years earlier and was paid

   by Fleet for those services did not make her subject to the Asset Freezing Order.

             If the SEC had any questions about the source or legitimacy of the payments to Defendants’

   counsel from Mr. Xia’s family or friends, none of whom are or were subject to any asset freeze

   when the payments were made, it could and would have subpoenaed them and determined whether

   there was any genuine basis to dispute the payments. It never did so, preferring to base its doubts



   15
        See Xia Supp. Aff., ¶ 21 and Exhibit A.
   16
     See Affidavit of Xinming Yu, ¶ 4, submitted herewith. It was not paid for legal fees. At the time,
   but unbeknownst to Mr. Xia or Mrs. Yue, Mr. Kameli was under investigation by the SEC in an
   administrative proceeding, which led to his disbarment from appearing in SEC enforcement
   actions. See Xia Supp. Aff., ¶¶ 22-23. He had recently agreed to pay $1.5 million to settle a related
   civil enforcement action alleging securities law violations. Under the settlement, Mr. Kameli owed
   a payment of $160,000 by late January or early February, 2022. He pleaded with Mr. Xia to find
   someone to lend the money to him so he could make the installment payment, but never disclosed
   the purpose for the loan. Unaware of the real reason for Mr. Kameli’s plea, Mr. Xia imposed upon
   Mrs. Yu, Xi Verfenstein’s mother, to use her personal savings to lend the money to Mr. Kameli.
   Id. at ¶¶ 24-27. Defendants intend to make a motion addressing various issues raised by Mr.
   Kameli’s failure to disclose his blatant conflict of interest (as well as the SEC’s failure to disclose
   to this Court its concurrent proceedings against Mr. Kameli) and its impact on these proceedings
   in due course.
   17
        See Declaration of Ellen Young, ¶ 4, submitted herewith.


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 24 of 35 PageID #: 18729




   on suspicion and innuendo rather than facts.

          Finally, the SEC challenges a post-asset freeze transfer of $200,000 by Mr. Xia to Ms. Yue

   on September 29, 2021, just two days after the original Asset Freezing Order was entered. ECF

   No. 235-1 at 16. At the time, Mr. Xia knew the value of the two projects and plus the $79 million

   cash that was frozen greatly exceeded the cap $229 million cap in the Asset Freezing Order. Xia

   Supp. Aff., ¶¶ 4-5. More importantly, when the $200,000 was withdrawn, Mr. Xia understood the

   account from which it was withdrawn was not subject to the asset freeze because it was not listed

   on the schedule of accounts in the Asset Freezing Order. Id., ¶ 10. After the $200,000 withdrawal

   was made, $673,000 remained in that account. Id., ¶ 11. Had Mr. Xia intended to violate or

   circumvent the Asset Freezing Order, he would have withdrawn the entire balance in the account.

          H.      A Liquidating Receivership is Not Clearly Necessary for the SEC
                  To Obtain Information

          The SEC also claims it needs a liquidating receivership to obtain an accurate picture of

   what transpired during the alleged fraud. ECF No. 235-1 at 16. The extraordinary remedy of a

   liquidating receivership is obviously not clearly necessary for the SEC or the Monitor to obtain

   any pertinent information, and what transpired during the alleged fraud is immaterial if the SEC

   intends for the receiver to liquidate Respondents’ assets.

          After conducting a three-year investigation, the SEC already has received extensive

   discovery from Defendants, from the Relief Defendants, and from dozens of non-parties through

   the civil enforcement action. It already has amassed more than a million pages of documents

   through its investigation and in discovery, and it still has many additional non-party subpoenas

   outstanding. The discovery process has provided the SEC with all the documents and information

   it may need to gain an accurate picture of what transpired during the alleged fraud.

          To the extent the SEC means that a receivership is necessary for it to obtain discovery of



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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 25 of 35 PageID #: 18730




   Defendants’ or the Relief Defendants’ assets, pursuant to the Asset Freezing Order entered on

   September 27, 2021 (ECF No. 11), Defendant Xia and Mrs. Yue each submitted a sworn

   accounting, under oath, of all their assets to the Monitor on October 18, 2021. ECF Nos. 19 & 20.

   Although the SEC and the Monitor have complained that the accounting appears incomplete to

   them, they have not identified what they believe was missing when they were filed on October 18,

   2021.18 On February 21, 2022, Mr. Xia and Mrs. Yue submitted additional detailed information

   and documents to the Monitor regarding their assets and liabilities. See Rifkin Decl., ¶¶ 89-90.

          In any event, the SEC has failed to explain how subjecting hundreds of millions of dollars

   of business and personal property to a liquidating receivership – in which all of their business and

   personal property will be sold – is clearly necessary for the SEC to obtain more information.

          I.      The SEC’s Undefined “Claims and Distribution Process” Will be
                  Cumbersome, Time-Consuming, Costly, and Ineffective

          As part of the entirely undefined “claims and distribution process,” the SEC proposes that

   all claimants against Defendants and the Relief Defendants – some of whom already have existing

   litigation pending in various New York State courts as well as in this Court – submit their claims

   to this Court for summary adjudications and pro rata allocations from the proceeds of the

   receiver’s liquidation. The Monitor has identified more than two dozen actions by or against

   Defendants and the Relief Defendants pending in at least four different state and federal

   jurisdictions. The SEC proposes that those claimants and any other claimants – many of whom are


   18
     Despite their repeated complaints and ample opportunity to do so, the SEC and the Monitor have
   not provided any evidence to substantiate their suspicions that the sworn accounting actually was
   incomplete when it was given, such as a missing property or a missing bank account that was not
   included on the schedules provided by Mr. Xia and Ms. Yue. At most, the SEC and the Monitor
   appear to believe the sworn accounting must have been incomplete because Mr. Xia and Ms. Yue
   have paid their living expenses and their attorneys without seeking relief from the asset freeze. Of
   course, they know that the Asset Freeze Order only applied to $229 million under the Court’s
   December 8, 2022 decision on the preliminary injunction motion.


                                                   21
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 26 of 35 PageID #: 18731




   likely unaware of these proceedings – be enjoined from continuing their existing litigations or from

   commencing new litigation until that claims and distribution process can be completed.

           To say the least, it will be an enormous undertaking for the receiver and for the Court to

   evaluate all those claims, many of which are hotly contested and involve significant factual and

   legal disputes, to determine their relative merits, and to assign appropriate values to each of them.

   That process – which the SEC has not described in even the most general terms – must be

   completed for all known and presently unknown claims before the pro rata share of each claimant

   can be determined. No doubt, once the Court determines the pro rata share for all those claimants,

   some of those claimants – all of whom who would be forced to accept a share of a liquidated estate

   – would appeal the Court’s pro rata determination. Because each claimant’s pro rata distribution

   depends not only on the total amount of cash available after the complete liquidation of

   Defendants’ and the Relief Defendants’ assets, but also on the amount assigned to each claim –

   including the SEC’s disgorgement and civil money penalty claims (see Section D above) – and the

   claimant’s percentage share of the total amount allocated to all such claims, all the claims will

   have to be determined before any of the liquidation proceeds can be disbursed to any claimants

   including the EB-5 investors the SEC purports to protect in this proceeding. It will take years, and

   cost tens of millions of dollars, to do so.

           J.      The Receivership and Liquidation Will Deprive Respondents
                   Of their Constitutional Rights

           The Fifth Amendment prohibits the government from depriving any citizen of his, her, or

   its property “without due process of law.” U.S. Const. amend. V. Defendants and the Relief

   Defendants have valuable property rights under the Fifth Amendment. A taking occurs when

   government action deprives the owner of “all economically viable uses of the subject property.”

   See Soundview Assocs. v. Town of Riverhead, 725 F. Supp. 2d 320, 333 (E.D.N.Y. 2010) (citations



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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 27 of 35 PageID #: 18732




   omitted). Here, the receivership and liquidation of all those business and personal assets

   unquestionably will deprive Defendants and the Relief Defendants of all economically viable uses

   of their property; it will deprive them of all uses of their property whatsoever.

          The liquidating receivership will deprive Defendants and Mrs. Yue of their valuable

   property without due process. Specifically, by placing control of the litigation in the hands of the

   receiver, the liquidating receivership denies Defendants and Mrs. Yue of their right to defend

   themselves against the SEC’s disgorgement and civil money penalty claims, their right to a trial

   by jury on the merits of those claims, and their right to pursue their appeal from the Court’s

   December 8, 2023, decision currently on appeal in the Second Circuit. The vast power the SEC

   proposes to confer on the receiver is, for all practical purposes, a final determination of its claim

   against Defendants and the Relief Defendants. When “the movant is seeking to modify the status

   quo by virtue of a mandatory preliminary injunction (as opposed to seeking a prohibitory

   preliminary injunction to maintain the status quo), or where the injunction being sought will

   provide the movant with substantially all the relief sought and that relief cannot be undone even if

   the defendant prevails at a trial on the merits, the movant must also: (1) make a strong showing of

   irreparable harm, and (2) demonstrate a clear or substantial likelihood of success on the merits.”

   Yang v. Kosinski, 960 F.3d 119, 128 (2d Cir. 2020). Given the current value of the assets the SEC

   seeks to liquidate and the limitations on disgorgement imposed by Liu, it has not even come close

   to meeting its burden. The sweepingly broad receivership threatens to give the receiver control

   over all other litigation, and even unfiled claims, against Respondents, similarly depriving them of

   their due process right to defend themselves in those cases and against those claims as well.

          To the extent the SEC seeks a receiver and liquidation of assets to protect its claim to a

   civil money penalty, the appointment of a liquidating receiver is a taking without just




                                                    23
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 28 of 35 PageID #: 18733




   compensation. A “taking” occurs whenever the government appropriates and makes public use of

   private property. See Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2071 (2021). “[I]n the case

   of real property, such an appropriation is a per se taking that requires just compensation.” Tahoe-

   Sierra Preservation Council, Inc. v. Tahoe Regional Planning Agency, 535 U.S. 302, 358 (2002)

   (citing Loretto v. Teleprompter Manhattan CATV Corp., 458 U.S. 419, 426-35 (1982)).

   Governmental appropriations of personal property for public use also constitute per se takings. Id.

   at 360. See also Cedar Point Nursery, 141 S. Ct. at 2071 (“the government commits a physical

   taking” when it “takes possession of property without acquiring title to it”). Even a temporary

   taking by the government can give rise to liability. Id. at 2074.

          The SEC has not proposed that the civil money penalties be treated as a “fair funds”

   recovery under Section 308 of the Sarbanes-Oxley Act and added to whatever disgorgement it may

   collect to pay to the EB-5 investors. Thus, the civil money penalty will be retained by the SEC and

   contributed to the United States Treasury; i.e., a public use. Therefore, the proposed receivership

   and liquidation is an appropriation of private property for public use. Doing so requires just

   compensation to the owners of that property and the SEC proposes none.

          K.      The Monitor is Unfit to be Appointed as Receiver

          Even if the Court decides to impose a liquidating receivership over Defendants’ and the

   Relief Defendants’ business and personal assets, it should not appoint the Monitor as receiver.

   Since his appointment as a Monitor on September 27, 2021, the Monitor has demonstrated a

   shocking indifference to maintaining the safety, security, and value of both Projects or else a

   stunning inability to do so. Over 15 months, the Monitor only acted to protect either property when

   compelled to do so by Mr. Xia and his counsel or when absolutely necessary to protect the projects

   from disaster. Though the Monitor’s indifference or lack of ability have manifested themselves




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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 29 of 35 PageID #: 18734




   many ways, four examples highlight the dangers to which the properties have been exposed.19

          First, despite dozens of pleas from Defendants to secure the construction site on Union

   Street, the Monitor paid little more than lip service to the need for security – repeatedly promising

   to take action but failing to do so – until Defendants filed their own motion to hire a security guard

   and shamed the Monitor to act. When construction at Union Street was brought to a complete halt

   by the Asset Freezing Order, no effort was made to secure the property from trespassers and

   vandals. See Rifkin Decl., ¶¶ 17, 26, & 43-46. No fencing was installed at the site, which left it

   open and accessible to the public. Id., ¶¶ 19, 40, & 41. Defendants presented the Monitor with an

   avalanche of evidence of repeated unlawful entry into the premises, including hundreds of photos

   and videos showing trespassers skateboarding in unprotected areas, having sex in the completed

   hotel rooms, and entering areas where millions of dollars of valuable electronic equipment had

   been stored. Id., ¶ 40. They explained that, while the trespassers presented risk of damage and loss

   to the construction site and the material stored there, they posed a far greater risk of injuring

   themselves while in dangerous and unprotected areas of the abandoned construction site. Id., ¶¶

   24, 26, 27, 39.

          Mr. Xia and Defendants’ counsel then met with the Monitor and members of his staff at

   the Union Street site to show the Monitor evidence of the repeated intrusions in person and the

   risks to the safety of the trespassers. Id., ¶ 41. The Monitor fully agreed that fencing and a security

   guard were needed, yet each time Defendants proposed a plan to install fencing or hire a security

   guard, the Monitor found some fault with the proposals but offered no proposals of his own to


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     The SEC seeks to place the blame for the “deteriorating conditions” at both Projects on Mr. Xia,
   and argues that a receivership “is needed to right the ship.” ECF No. 235-1 at 6. Nothing could be
   farther from the truth. As shown below, the Monitor is the person most responsible for the
   deteriorating conditions at both Projects and should not be given even greater responsibility for
   overseeing them.


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 30 of 35 PageID #: 18735




   secure the site. Id., ¶¶ 41-42. Finally, on November 4, 2022, having grown tired of the Monitor’s

   procrastination, Defendants moved to hire a security guard. ECF No. 197. Only then did the

   Monitor come forward with his own motion to appoint a different security guard, which

   Defendants immediately accepted to avoid any continued delay in providing minimal protection

   against the constant intrusion into the premises.20

          Second, despite repeated pleas from Defendants to protect the construction site on Union

   Street from the elements, the Monitor has failed to take any action to do so. When construction

   was stopped on September 27, 2021, the nearly-completed building was left unprotected from

   the elements. Left unprotected, the building suffered significant damage over the winter of 2021-

   2022. Defendants showed the Monitor a pile of photographic evidence of the damage caused by

   water and freezing temperatures, including several large glass panes on the building’s exterior

   and interior that exploded from the freezing winter temperatures, water damage to the building’s

   already finished interior, damage to materials and fixtures stored on site awaiting installation,

   and mold growth from exposure to both water and heat. Id., ¶ 47.

          Just as he had agreed with the need for security, during the first site visit, the Monitor

   fully agreed that protection from the elements was necessary to protect the building and stored

   materials from further harm. Over the course of several months, Defendants and their counsel

   offered multiple proposals to the Monitor for enclosing the building on a temporary basis, but the

   Monitor dismissed all of them – never once offering a proposal of his own. Yet the Monitor did

   nothing to protect the building from the elements. Id., ¶ 48.

          Finally, with another winter fast approaching, Mr. Xia and Defendants’ counsel again met


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     The Monitor’s choice of a security guard has been poor, to say the least. The security guard was
   absent at times and at times has failed to conduct the routine perimeter patrols required by the
   service contract.


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 31 of 35 PageID #: 18736




   with the Monitor and members of his staff at the construction site. Id., ¶ 33. During that second

   meeting, the Monitor again agreed that protection from the elements was needed. Id., ¶ 48. Over

   the following weeks, Mr. Xia met with an engineer hired by the Monitor and the two engineers

   agreed that the best way to protect the building was to complete the building façade, which also

   would help Defendants to market the building and allow Defendants to lease at least a part of the

   building – i.e., the SEC’s “empty glass shell” – to rent-paying tenants. Xia Supp. Aff., ¶ 31; Zhu

   Aff., ¶¶ 26-28. Defendants then made several proposals to the Monitor for completing the façade.

   Xia Supp. Aff., ¶ 31. The Monitor never responded to any of those proposals, and never produced

   a counter-proposal of his own. Id. The building remains unprotected and continues to deteriorate

   daily from exposure to the elements. Rifkin Decl., ¶ 40.

          Third, the City of New York has threatened to order the enormous foundation on Northern

   Boulevard (two entire city blocks) to be re-filled – which would waste more than $100 million in

   decontamination and excavation work – if the excavation is not maintained while construction is

   prohibited by the asset freeze. Rifkin Decl., ¶ 53. Defendants and their counsel have repeatedly

   informed the Monitor of back-fill warnings from the City. Id., ¶ 54. At first, the Monitor refused

   to agree that berm maintenance was necessary. Id. And then the Monitor refused to agree to any

   of Defendants’ proposals for the required periodic berm maintenance at the site even though the

   Monitor Order gives the Monitor no oversight over that work. See id. ¶ 55; ECF No. 268 at 2. After

   months of repeated urging from Defendants, the Monitor finally addressed the urgent need for

   ongoing berm maintenance. ECF No. 267.

          Even worse than that, the Monitor refuses to seek payment for Perini Construction Co. for

   the periodic berm maintenance work it has performed at its own expense during the asset freeze

   to stop the City from ordering the foundation to be back-filled. Defendants have requested the




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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 32 of 35 PageID #: 18737




   Monitor’s approval for bills from Perini for the work, but the Monitor refuses to approve the bills.

   The Monitor is simply exploiting the fact that the necessary berm maintenance work has been done

   at Perini’s expense. Predictably, Perini refused to do any more berm maintenance work unless it

   was paid for the work it already has done. ECF No. 268 at 2.

          And fourth, the Monitor unreasonably procrastinated over repairing or replacing the fence

   and barricade around the Northern Boulevard construction site. Id., ¶¶ 23, 24, 27, 51, & 52. The

   enormous foundation, which is 50 or 55 feet deep in sections, presents a significant public safety

   risk. Id., ¶ 49. The site fronts along Northern Boulevard at a crowded bus stop near 114th Street.

   Id., ¶¶ 30 & 56. Sections of the perimeter fence and road barricade that surrounds the entire

   construction site deteriorated after the Asset Freezing Order was entered on September 27, 2021,

   and needed to be repaired or replaced. Id., ¶¶ 19, 23, 24, 27 & 51. Mr. Xia and Defendants’ counsel

   communicated with the Monitor in early 2022 about the need to repair or replace large portions of

   the perimeter fence and road barricade. Defendants’ counsel and a member of the Monitor’s staff

   met on multiple occasions at the Northern Boulevard site. Id., ¶ 52. Mr. Xia and an engineer hired

   by the Monitor were present for at least two inspections there. Id. They agreed that replacing both

   the fence and the barricade were the most cost-efficient solution to the problem. Xia Supp. Aff., ¶

   35. Defendants then proposed two contractors to perform the work. Id. The Monitor refused the

   proposals, but put forth none of his own. Id. Because of the Monitor’s persistent foot-dragging,

   none of the needed work was done. Rifkin Decl., ¶¶ 23, 24, 27, 51-52.

          During a windstorm on Sunday, January 15, 2023, a 125-foot-long section of perimeter

   fencing by the sidewalk along Northern Boulevard near 114th Street collapsed onto the bus stop.

   Id., ¶ 56. Fortunately, no one was injured when the fence collapsed. Id. The fence collapse left

   little or no protection between the sidewalk and huge construction pit. Id. The windstorm also




                                                   28
Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 33 of 35 PageID #: 18738




   caused several 20-foot-tall steel poles holding a 100-foot-long sign behind the fence along

   Northern Boulevard to break loose from their concrete anchors, threatening to topple onto the bus

   stop and Northern Boulevard. Id. Mr. Xia and Defendants’ counsel, along with a member of the

   Monitor’s, came to the site and spent several hours there in the middle of the night until Mr. Xia

   was able to locate and hire a contractor to perform temporary emergency repairs overnight. Id., ¶¶

   57-60. All this could and would have been avoided had the Monitor timely addressed the fence

   and barricade problem at Northern Boulevard.

          Just last week, another windstorm caused massive damage to the fence along 112th Street.

   Id., ¶ 62. The fence remained unrepaired because the contractor hired by the Monitor refused to

   perform the work as required by Mr. Xia on behalf of the owner of the property and prevented Mr.

   Xia, a licensed engineer, from agreeing on the fence design with the engineer retained by the

   Monitor to prepare the fence design. Id.

          These four examples alone have caused massive damage to both Projects. The damage to

   the Eastern Mirage building will cost millions of dollars to repair and will add immeasurably to

   the construction cost. The risk of catastrophic personal injury from the Monitor’s refusal to allow

   fence and barricade work to be done is unconscionable. Together, they show that the Monitor is

   unqualified – either because he is indifferent to the projects or simply lacks the experience and

   knowledge to manage them – to assume oversight of these two construction projects. Far from

   protecting the investors’ interests, the Monitor has caused more harm to them than anyone else.

          If the Court decides to impose a liquidating receivership, it should appoint Mr. Casey to

   serve as the receiver.21



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     Importantly, Mr. Casey is prepared to serve in this capacity on an hourly basis. If a receiver
   expects a significant percentage of the value of the assets to oversee a short-term transaction to
   fund the settlement, the savings will be enormous. Even if the receiver expects an hourly fee, Mr.


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 34 of 35 PageID #: 18739




           L.      Any Receiver Should Not be Immunized and Should be Required
                   To Post a Bond

           The SEC proposes that the receiver not be required to post a bond or any other undertaking,

   be immune from any and all liability, and be “defended, indemnified, and held harmless by each

   of the Receivership Entities and the Receivership Estate.” ECF No. 235-20, ¶¶ 35 & 38-39. These

   extraordinary protections are unwarranted given the size and complexity of the assets over which

   the receivership is sought and the extensive authority and responsibilities to be given to the

   receiver. If the Monitor is to be appointed as receiver, the extraordinary protections the SEC has

   proposed are unjustified in light of his repeated failures to act responsibly toward the two

   commercial construction projects to date, as discussed above.

           If a liquidating receivership is imposed on hundreds of millions of dollars of business and

   personal assets, and if the receiver is given enormous powers over those assets, the receiver should

   be required to post a bond in an amount equal to the value of the assets over which he or she is to

   be given complete control, as is typical required of such receivers. And the receiver should be held

   liable for his or her acts and omissions under the same ordinary standards of care that any third-

   party in possession of another person’s assets must meet. Lastly, it is entirely unreasonable to

   require the “Receivership Entities” – who will lose all their assets in the planned liquidation – to

   defend, indemnify, or hold harmless the receiver or expect that they would have any ability to do

   so after their assets are stripped and sold.

                                              CONCLUSION

           For all the foregoing reasons, the Court should deny the SEC’s motion for a liquidating

   receivership in its entirety. If the Court decides to appoint a receiver, the Court should not appoint



   Casey is likely to bill far less than a court-appointed receiver, especially if the Court appoints the
   Monitor as the receiver, given the Monitor’s billing history in this case.


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Case 1:21-cv-05350-PKC-JAM Document 274 Filed 03/17/23 Page 35 of 35 PageID #: 18740




   the Monitor to serve as receiver because the Monitor has neither the ability nor the intent to act to

   protect the valuable properties over which a receivership is sought. Regardless of who is appointed

   as a receiver, given the size of the estate and the complexity of the properties over which a

   receivership is sought, the receiver should be required to post a bond and should not be immunized

   from potential liability for his or her acts or omissions as receiver.

   Dated: March 17, 2023                                  MEYER, SUOZZI, ENGLISH
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                                                     31
